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              EXHIBIT C
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                     UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION




CESIUMASTRO, INC.,
                                              Case No. 1:24-cv-00314-RP
     Plaintiff,
                                           PLAINTIFF’S EXPEDITED
             v.
                                           DISCOVERY NOTICE OF
ERIK LUTHER and ANYSIGNAL, INC.,           DEPOSITION OF DEFENDANT
                                           ERIK LUTHER
     Defendants.



      PLAINTIFF CESIUMASTRO, INC.’S NOTICE OF FED. R. CIV. P. 30(b)
               DEPOSITION OF DEFENDANT ERIK LUTHER
         Case 1:24-cv-00314-RP Document 14-5 Filed 04/08/24 Page 3 of 3




To:    Defendant Erik Luther, by and through his counsel of record:

       PLEASE TAKE NOTICE that pursuant to Rule 30(b)(1) of the Federal Rules of Civil

Procedure, Plaintiff CesiumAstro, Inc. will take the videotaped deposition of Defendant Erik

Luther on a mutually agreeable date to be determined by the parties pursuant to the deadlines set

by the Court in its order granting CesiumAstro leave to conduct expedited discovery, starting at

9:00 A.M. Pacific Time, or at such other time as may be agreed by counsel, and ending after five

hours on the record.

       The deposition will be stenographically recorded utilizing real-time reporting and will be

taken before a person authorized to administer oaths in the place where the deposition is taken.

The deposition will be videotaped.

 Dated: April 8, 2024                              Respectfully submitted,

                                                   O’MELVENY & MYERS LLP

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                                                   Attorneys for Plaintiff CesiumAstro, Inc.




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